                                                                     Case 09-29123-mkn      Doc 1404      Entered 01/24/22 16:08:31    Page 1 of 6




                                                            1    ARIEL E. STERN, ESQ.
                                                                 Nevada Bar No. 8276
                                                            2    NATALIE L. WINSLOW, ESQ.
                                                                 Nevada Bar No. 12125
                                                            3
                                                                 NICHOLAS E. BELAY, ESQ.
                                                            4    Nevada Bar No. 15175
                                                                 AKERMAN LLP
                                                            5    1635 Village Center Circle, Suite 200
                                                                 Las Vegas, NV 89134
                                                            6    Telephone: (702) 634-5000
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                                                            8    Email: natalie.winslow@akerman.com
                                                                 Email: nicholas.belay@akerman.com
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                                                                 Attorneys for NewRez LLC dba Shellpoint
                                                            10   Mortgage Servicing
                                                            11
              1635 VILLAGE CENTER CIRCLE, SUITE 200

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12                            UNITED STATES BANKRUPTCY COURT
                      LAS VEGAS, NEVADA 89134




                                                                                                    DISTRICT OF NEVADA
AKERMAN LLP




                                                            13

                                                            14    In re:                                            Case No.: 09-29123-mkn
                                                                                                                    Chapter 11
                                                            15    MELANI   SCHULTE            and        WILLIAM
                                                                  SCHULTE,                                          SUBSTITUTION OF COUNSEL
                                                            16
                                                                  2704 SATTLEY LLC;                                 Jointly Administered with:
                                                            17    HOT ENDEAVOR LLC;
                                                                  1341 MINUET LLC;                                  09-27238-MKN
                                                            18                                                      09-27909-MKN
                                                                  1708 PLATO PICO LLC;
                                                                  2228 WARM WALNUT LLC;                             09-27910-MKN
                                                            19
                                                                  9425 VALLEY HILLS LLC;                            09-27911-MKN
                                                            20    9500 ASPEN GLOW LLC;                              09-27912-MKN
                                                                  5218 MISTY MORNING LLC;                           09-27913-MKN
                                                            21    CHERISH LLC;                                      09-27914-MKN
                                                                  SABRECO INC., and                                 09-27916-MKN
                                                            22                                                      09-28513-MKN
                                                                  KEEP SAFE LLC.
                                                                                                                    09-31584-MKN
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                                                            1                 NewRez LLC dba Shellpoint Mortgage Servicing consents to the substitution of Ariel E. Stern,

                                                            2    Esq., Natalie L. Winslow Esq., and Nicholas E. Belay, Esq., of AKERMAN LLP as its counsel in the

                                                            3    place and stead of ALDRIDGE PITE, LLP in the above-entitled matter.

                                                            4                 DATED this 24 day of January, 2022.

                                                            5                                                         NEWREZ LLC DBA SHELLPOINT MORTGAGE
                                                                                                                      SERVICING
                                                            6
                                                                                                                      By:
                                                            7
                                                                                                                              Caroline Trinkley
                                                            8                                                         Its:   Authorized Representative

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AKERMAN LLP




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                                                            1                 Eddie R. Jimenez, Esq. and Greg Campbell, Esq. of the law firm of ALDRIDGE PITE, LLP

                                                            2    consent to the substitution of Ariel E. Stern, Esq., Natalie L. Winslow Esq., and Nicholas E. Belay,

                                                            3    Esq., of AKERMAN LLP as counsel of record in their place and stead on behalf of NewRez LLC dba

                                                            4    Shellpoint Mortgage Servicing.

                                                            5                 DATED this 19th day of January, 2022.

                                                            6                                                         ALDRIDGE PITE, LLP

                                                            7                                                         ___________________________________
                                                                                                                      EDDIE R. JIMENEZ, ESQ.
                                                            8
                                                                                                                      Nevada Bar No. 10376
                                                            9                                                         GREG CAMPBELL, ESQ.
                                                                                                                      *PRO HAC VICE ADMITTED*
                                                            10                                                        4375 Jutland Drive, Suite 200
                                                                                                                      P.O. Box 17933
                                                            11
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                                                                                                                      San Diego, CA 92117
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                      LAS VEGAS, NEVADA 89134




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AKERMAN LLP




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                                                            1                 Ariel E. Stern, Esq., Natalie L. Winslow Esq., and Nicholas E. Belay, Esq., of the law firm

                                                            2    AKERMAN LLP, consent to substitution as counsel of record for NewRez LLC dba Shellpoint Mortgage

                                                            3    Servicing in the place and stead of ALDRIDGE PITE, LLP.

                                                            4                            24th day of January, 2022.
                                                                              DATED this ____

                                                            5                                                         AKERMAN LLP
                                                            6

                                                            7                                                         ARIEL E. STERN, ESQ.
                                                                                                                      Nevada Bar No. 8276
                                                            8                                                         NATALIE L. WINSLOW, ESQ.
                                                            9                                                         Nevada Bar No. 12125
                                                                                                                      1635 Village Center Circle, Suite 200
                                                            10                                                        Las Vegas, NV 89134

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AKERMAN LLP




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                                                                                                 CERTIFICATE OF SERVICE
                                                             1
                                                                        1.     On January 24, 2022, I served the following document: SUBSTITUTION OF
                                                             2
                                                                 COUNSEL, I served the above-named document by the following means to the persons as listed
                                                             3
                                                                 below: (Check all that apply)
                                                             4
                                                                                a.     ECF System - The Court’s CM/ECF systems sends an e-mail notification of
                                                             5          the filing to the parties and counsel of record who are registered with the Court’s CM/ECF
                                                                        system, including the following parties:
                                                             6
                                                                               Matthew L. Johnson
                                                             7
                                                                               Johnson & Gubler, P.C.
                                                             8                 8831 West Sahara Avenue
                                                                               Las Vegas, NV 89117
                                                             9
                                                                               U.S. Trustee
                                                            10                 Department of Justice
                                                            11                 300 Las Vegas Boulevard, SO.
                                                                               Suite 4300 Las Vegas, NV 89101
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                            12
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                                               Christopher Patrick Burke
                                                            13
                      LAS VEGAS, NEVADA 89134




                                                                               218 S. Maryland Parkway
AKERMAN LLP




                                                                               Las Vegas, NV 89101
                                                            14
                                                                               c.     Personal Service - I personally delivered the document(s) to the persons at
                                                            15          these addresses: N/A
                                                            16                For a party represented by an attorney, delivery was made by handing the
                                                                        document(s) to the attorney or by leaving the documents(s) at the attorney’s office with a
                                                            17          clerk or other person in charge, or if no one is in charge by leaving the documents(s) in a
                                                                        conspicuous place in the office: N/A
                                                            18
                                                                               For a party, delivery was made by handing the document(s) to the party or by leaving
                                                            19          the document(s)at the person’s dwelling house or usual place of abode with someone of
                                                                        suitable age and discretion residing there: N/A
                                                            20
                                                                              d.     By direct mail on November 25, 2022 (as opposed to through the ECF
                                                            21   System)
                                                            22
                                                                               Schulte Properties LLC
                                                            23                 9811 W. Charleston Blvd Ste 2-351
                                                                               Las Vegas, NV 89117
                                                            24
                                                                               Melani Schulte
                                                            25                 9811 W. Charleston Blvd. #2-351
                                                                               Las Vegas, NV 89117
                                                            26
                                                                              e.     By fax transmission
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                                                             1            f.     By messenger
                                                             2      I declare under penalty of perjury that the foregoing is true and correct.
                                                             3      Signed on: January 24, 2022.
                                                             4             Carla Llarena                                  /s/ Carla Llarena
                                                                        (Name of Declarant)                            (Signature of Declarant)
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AKERMAN LLP




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